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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                       CASE NO. 22-CR-80056-MIDDLEBROOKS

  UNITED STATES OF AMERICA,

          Plaintiff,

  vs.

  KEVIN C. FUSCO,

        Defendant.
  ___________________________________/

                       UNOPPOSED MOTION TO TRANSFER CASE

          The defendant, Kevin Fusco, through undersigned counsel, hereby files this

  Unopposed Motion to Transfer Case pursuant to IOP 2.15.00, and in support thereof

  states:

          1.     Mr. Fusco commenced a three year term of supervised release on

  December 13, 2019 in case number 17-CR-20275-RLR. (17-DE 70).1 On April 21, 2021,

  a Petition for Offender under Supervision was issued in that case. (17-DE 62). That

  Petition was later superseded to include allegations that Mr. Fusco committed the

  criminal acts that are also alleged in this case. Compare (17-DE 70: 2) and (22-DE

  15).2

          2.     The Superseding Petition is still pending. If Mr. Fusco is convicted as


  1References to docket entries in case number 17-CR-20275-RLR will be noted as 17-
  DE.

  2
   References to docket entries in case number 22-CR-80056-DMM will be noted as
  22-DE.
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  charged in this case, he faces a mandatory minimum sentence of 10 years up to life

  imprisonment. (22-DE 15). The parties are engaged in plea negotiations that would

  involve a global resolution of both cases, but they are still finalizing the terms of the

  agreement.

        3.     Consolidating these matters before one judge will preserve judicial

  resources. The Internal Operating Procedures of this District provide:

        Whenever an action or proceeding is filed in the Court which involves
        subject matter which is a material part of the subject matter of another
        action or proceeding then pending before this Court, or for other reasons
        the disposition thereof would appear to entail the unnecessary
        duplication of judicial labor if heard by a different Judge, the Judges
        involved shall determine whether the higher-numbered action or
        proceeding shall be transferred to the Judge assigned to the lower-
        numbered action. (See IOP 2.06.00 Transfer of Higher-Numbered
        Cases).

  S.D. Fla. IOP 2.15.00, available at https://www.flsd.uscourts.gov/sites/flsd/files/17-

  10-17-Internal-Operating-Procedures.pdf (last visited June 16, 2022). The lower-

  numbered proceeding is the earlier filed case. S.D. Fla. IOP 2.06.00, available at

  https://www.flsd.uscourts.gov/sites/flsd/files/17-10-17-Internal-Operating-

  Procedures.pdf. The supervised release violation encompasses the conduct alleged in

  this case, and it has been pending for a longer period of time. Thus, transferring this

  case to the same judge who is already handling the violation of supervised release

  will promote efficiency.

        4.     The undersigned has conferred with Assistant United States Attorney

  Daniel Funk who has advised the Government does not oppose this request.

                                           Respectfully submitted,
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                                         MICHAEL CARUSO
                                         FEDERAL PUBLIC DEFENDER

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                            CERTIFICATE OF SERVICE

        I HEREBY certify that on June 16, 2022, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

  document is being served this day on all counsel of record via transmission of Notices

  of Electronic Filing generated by CM/ECF or in some other authorized manner for

  those counsel or parties who are not authorized to receive electronically Notices of

  Electronic Filing.

                                         s/M. Caroline McCrae
                                         M. Caroline McCrae
